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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LARRY KLAYMAN

               Plaintiff,

v.                                                Civil No. 1:06-cv-00670-CKK

JUDICIAL WATCH, INC., Et Al.

               Defendants.


                               DEFENDANTS’ OPPOSITION TO
                            PLAINTIFF’S MOTION FOR SANCTIONS

       Defendants Judicial Watch, Inc., Thomas J. Fitton, Paul J. Orfanedes and Christopher J.

Farrell (jointly “Judicial Watch”), by undersigned counsel, respectfully oppose the “Cross

Motion” for Sanctions filed by Plaintiff Larry Klayman (“Klayman”) and state:

       1.      Klayman does not articulate any standard, rule, or statute for the sanctions he

seeks. Therefore, Defendants are not able to respond substantively to the Motion.

       2.      Plaintiff lists pages of alleged misconduct without attaching a single piece of

evidence or detail to substantiate the accusations. See Motion at pp. 5-10. Instead, providing his

view and interpretation of events, Klayman concludes the actions are “false and fraudulent.” For

example, Klayman asserts that Defendants and their counsel transmitted a false statement to

Roger Stone that Plaintiff was terminated by Judicial Watch for a sexual harassment complaint

and alleges that they took money from Klayman and “put it into their own coffers.” Motion at

pp. 7-8. The bald nature of these accusations and absence of information or detail in support

make it difficult to respond in substance. Absent further information, the Motion for Sanctions is

not ripe for decision and should be denied for lack of substance. However, Defendants (and their
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counsel) are confident that if and when examined in detail, the allegations will prove to be

meritless. 1

        3.     Klayman’s interpretation of Panel comments during oral argument is unjustified

and provide no support for his Motion. During the appeal in Klayman v. Rao, No. 21-cv-02473

(CRC), 2021 U.S. Dist. LEXIS 204644 (D.D.C. Oct. 25, 2021), Klayman asked for prospective

relief in the form of the Circuit Court reviewing the record from this case to “see what

happened.” Motion, Exhibit A at p. 27, line 25 – p. 28, line 4. The Panel responded by asking

what standard to apply as a general rule. Id. at p. 30, lines 18-24. When Klayman did not propose

a concrete standard, the Panel asked if the standard was “shocks the conscience.” Id. at p. 31,

lines 14-19. Klayman agreed. Id. at p. 31, lines 12-14. The Panel never suggested that they

would adopt this standard or that this case satisfied the standard. They only requested that

Klayman articulate how a court could justify a collateral attack on another court’s judgment.

        4.     Klayman misread the Panel comments. This is confirmed by the Circuit Court’s

opinion rejecting his appeal only a few short weeks later:

               We have thoroughly reviewed the record, in particular the alleged
               evidentiary errors committed by the trial judge in Judicial Watch I.
               It seems clear to us that the instant suit is an attempt to relitigate
               prior decisions of the district court and of this court. Klayman
               attempts to present the allegations in his complaint as independent
               violations of his constitutional rights, but they are in fact
               accusations that the decisions of the district court and of this court
               are incorrect. Such claims are only reviewable, and in this case
               have been reviewed, on appeal and on writ of certiorari to the
               Supreme Court. See Celotex Corp. v. Edwards, 514 U.S. 300, 313,
               115 S. Ct. 1493, 131 L. Ed. 2d 403 (1995) ("It is for the court of
               first instance to determine the question of the validity of the law,
               and until its decision is reversed for error by orderly review, either
               by itself or by a higher court, its orders based on its decision are to


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        Plaintiff also states that he is “referring this matter to the Committee on Grievances.” The
purpose for making such a statement is unclear. It provides no support for a sanctions motion, is
not intimidating or threatening, and sounds much like playground tattle tailing.
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              be respected." (quoting Walker v. Birmingham, 388 U.S. 307, 314,
              87 S. Ct. 1824, 18 L. Ed. 2d 1210 (1967))). Klayman's requested
              relief—vacatur of the judgment against him and a new trial—
              further illustrates that the instant suit is an attempt to relitigate the
              original Judicial Watch litigation. As such, the district court
              correctly dismissed this case sua sponte because it had no
              jurisdiction to review the decisions of another federal district
              court judge or of this court; the claims are barred by res judicata;
              and Klayman was not entitled to injunctive relief because he had
              adequate, if unsuccessful, remedies at law.

Klayman v. Neomi Rao, Hon, 49 F.4th 550, 552 (D.C. Cir. 2022) (emphasis added).

                                         CONCLUSION

       Klayman did not cite any standard or submit any evidence to support his Motion. His

reliance on questions and comments by the appeal Panel is unfounded in light of the decision

denying the appeal in whole. There are simply no grounds on which to award any sanctions.

       WHEREFORE, for all the foregoing reasons, Judicial Watch respectfully requests that

the Motion for Sanctions be DENIED.

Dated: December 7, 2022                       Respectfully submitted,

                                              /s/
                                              __________________________________
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                                              Thomas J. Fitton, Paul J. Orfanedes and
                                              Christopher J. Farrell




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of December 2022, a true copy of the
foregoing Opposition to Motion for Sanctions was electronically transmitted by the Court’s ECF
system and by email to:

                                    Larry Klayman, Esq.
                                    7050 W. Palmetto Park Rd.
                                    Boca Raton, FL 33433
                                    leklayman@gmail.com

                                           /s/

                                           Richard W. Driscoll




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